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10

11                                  UNITED STATES DISTRICT COURT
12                                 NORTHERN DISTRICT OF CALIFORNIA
13                                     SAN FRANCISCO DIVISION

14

15 BRAYDEN STARK and JUDD OOSTYEN,              Case No. 3:22-CV-03131-JCS
   on behalf of themselves and all others
16 similarly situated,                          COVER SHEET FOR EXHIBITS 57
                                                THROUGH 75 FOR FRED NORTON’S
17                   Plaintiffs,                DECLARATION IN SUPPORT OF PATREON,
             v.                                 INC.’S MOTION FOR SUMMARY JUDGMENT
18
     PATREON, INC.,
19
                     Defendant.
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